             Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 1 of 33




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
                                                  1                 )     Case No. 20-33801 (DRJ)
    DENBURY RESOURCES INC., et al.,
                                                                    )
                                       Debtors.                     )     (Joint Administration Requested)
                                                                    )     (Emergency Hearing Requested)

                       DEBTORS’ EMERGENCY MOTION
                  FOR ENTRY OF AN ORDER (I) SCHEDULING A
                COMBINED DISCLOSURE STATEMENT APPROVAL
            AND PLAN CONFIRMATION HEARING, (II) CONDITIONALLY
         APPROVING THE DISCLOSURE STATEMENT, (III) ESTABLISHING
         PLAN AND DISCLOSURE STATEMENT OBJECTION AND RELATED
        PROCEDURES, (IV) APPROVING THE SOLICITATION PROCEDURES,
       (V) APPROVING THE COMBINED NOTICE, AND (VI) CONDITIONALLY
       WAIVING THE REQUIREMENTS THAT THE U.S. TRUSTEE CONVENE A
     MEETING OF CREDITORS AND THE DEBTORS FILE SCHEDULES AND SOFAS


             EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE CONDUCTED ON THIS
             MATTER ON JULY 31, 2020, AT 7:30 A.M. (CENTRAL TIME) IN COURTROOM 400, 4TH FLOOR,
             515 RUSK STREET, HOUSTON, TEXAS 77002. IF YOU OBJECT TO THE RELIEF REQUESTED
             OR YOU BELIEVE THAT EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST
             EITHER APPEAR AT THE HEARING OR FILE A WRITTEN RESPONSE PRIOR TO THE
             HEARING. OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
             GRANT THE RELIEF REQUESTED.

             RELIEF IS REQUESTED NOT LATER THAN JULY 31, 2020.

             PLEASE NOTE THAT ON MARCH 24, 2020, THROUGH THE ENTRY OF GENERAL ORDER 2020-
             10, THE COURT INVOKED THE PROTOCOL FOR EMERGENCY PUBLIC HEALTH OR SAFETY
             CONDITIONS.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Denbury Resources Inc. (7835); Denbury Air, LLC (7621); Denbury Brookhaven Pipeline
      Partnership, LP (6322); Denbury Brookhaven Pipeline, LLC (6471); Denbury Gathering & Marketing, Inc.
      (6150); Denbury Green Pipeline-Montana, LLC (6443); Denbury Green Pipeline-North Dakota, LLC (7725);
      Denbury Green Pipeline-Riley Ridge, LLC (2859); Denbury Green Pipeline-Texas, LLC (2301); Denbury Gulf
      Coast Pipelines, LLC (0892); Denbury Holdings, Inc. (1216); Denbury Onshore, LLC (7798); Denbury Operating
      Company (7620); Denbury Pipeline Holdings, LLC (0190); Denbury Thompson Pipeline, LLC (0976); Encore
      Partners GP Holdings, LLC (N/A); Greencore Pipeline Company, LLC (9605); Plain Energy Holdings, LLC
      (0543). The location of Debtor Denbury Resources Inc.’s principal place of business and the Debtors’ service
      address in these chapter 11 cases is 5320 Legacy Drive, Plano, Texas 75024.
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 2 of 33




       IT IS ANTICIPATED THAT ALL PERSONS WILL APPEAR TELEPHONICALLY AND ALSO
       MAY APPEAR VIA VIDEO AT THIS HEARING.

       AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S REGULAR DIAL-IN NUMBER.
       THE DIAL-IN NUMBER IS +1(832) 917-1510. YOU WILL BE RESPONSIBLE FOR YOUR OWN
       LONG-DISTANCE CHARGES. YOU WILL BE ASKED TO KEY IN THE CONFERENCE ROOM
       NUMBER. JUDGE JONES’S CONFERENCE ROOM NUMBER IS 205691.

       PARTIES MAY PARTICIPATE IN ELECTRONIC HEARINGS BY USE OF AN INTERNET
       CONNECTION. THE INTERNET SITE IS WWW.JOIN.ME. PERSONS CONNECTING BY
       MOBILE DEVICE WILL NEED TO DOWNLOAD THE FREE JOIN.ME APPLICATION.


       ONCE CONNECTED TO WWW.JOIN.ME, A PARTICIPANT MUST SELECT “JOIN A
       MEETING”. THE CODE FOR JOINING THIS HEARING BEFORE JUDGE JONES IS
       “JUDGEJONES”. THE NEXT SCREEN WILL HAVE A PLACE FOR THE PARTICIPANT’S NAME
       IN THE LOWER LEFT CORNER. PLEASE COMPLETE THE NAME AND CLICK “NOTIFY”.

       HEARING APPEARANCES SHOULD BE MADE ELECTRONICALLY AND IN ADVANCE OF THE
       HEARING. YOU MAY MAKE YOUR ELECTRONIC APPEARANCE BY:

       1) GOING TO THE SOUTHERN DISTRICT OF TEXAS WEBSITE;

       2) SELECTING “BANKRUPTCY COURT” FROM THE TOP MENU;

       3) SELECTING “JUDGES’ PROCEDURES AND SCHEDULES”;

       4) SELECTING “VIEW HOME PAGE” FOR JUDGE JONES;

       5) UNDER “ELECTRONIC APPEARANCE” SELECT “CLICK HERE TO SUBMIT ELECTRONIC
       APPEARANCE;”

       6) SELECT “DENBURY RESOURCES INC., ET AL.” FROM THE LIST OF ELECTRONIC
       APPEARANCE LINKS; AND

       7) AFTER SELECTING DENBURY RESOURCES INC., ET AL. FROM THE LIST, COMPLETE
       THE REQUIRED FIELDS AND HIT THE “SUBMIT” BUTTON AT THE BOTTOM OF THE PAGE.

       SUBMITTING YOUR APPEARANCE ELECTRONICALLY IN ADVANCE OF THE HEARING
       WILL NEGATE THE NEED TO MAKE AN APPEARANCE ON THE RECORD AT THE HEARING.


       The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

the following in support of this motion (this “Motion”):

                                        Relief Requested

       1.        The Debtors seek entry of an order, substantially in the form attached hereto

(the “Order”):

                 a.     scheduling a combined hearing (the “Combined Hearing”) to consider
                        approval of the Disclosure Statement for the Joint Chapter 11 Plan of
                        Reorganization of Denbury Resources Inc. and Its Debtor Affiliates
         Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 3 of 33




                          (the “Disclosure Statement”), filed contemporaneously herewith, and
                          confirmation of the Plan (as defined herein);

                   b.     conditionally approving the Disclosure Statement;

                   c.     establishing a deadline for filing objections to the adequacy of
                          the Disclosure   Statement      and    confirmation     of    the     Plan
                          (the “Objection Deadline”), and approving related procedures thereto;

                   d.     approving the solicitation procedures regarding votes to accept or reject the
                          Plan (the “Solicitation Procedures”);

                   e.     approving the form and manner of notice of commencement of these
                          chapter 11 cases and the Combined Hearing (the “Combined Notice”) and
                          the form and manner of the publication notice of the Combined Hearing and
                          commencement of the chapter 11 cases (the “Publication Notice”);

                   f.     directing that the United States Trustee for the Southern District of Texas
                          (the “U.S. Trustee”) not convene a meeting of creditors
                          (the “Creditors’ Meeting”) under section 341(e) of title 11 of the United
                          States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), provided
                          that the Plan is confirmed prior to September 14, 2020, (46) days after the
                          Petition Date (as defined herein);

                   g.     waiving the requirement that the Debtors file statements of financial affairs
                          (“SOFAs”) and schedules of assets and liabilities (“Schedules”), provided
                          that the Plan is confirmed prior to September 14, 2020, (46) days after the
                          Petition Date;

                   h.     allowing the notice period for the Disclosure Statement and Combined
                          Hearing to run simultaneously; and

                   i.     granting related relief.

        2.         In connection with the foregoing, the Debtors request that the Court approve the

following proposed confirmation schedule (the “Confirmation Schedule”):

                 Event                                                  Date
 Voting Record Date                    July 22, 2020
 Noteholder Solicitation Launch Date   July 29, 2020
 Petition Date                         July 30, 2020
 Equity Solicitation Launch Date       July 31, 2020
 Voting Deadline                       August 28, 2020, at 4:00 p.m., prevailing Central Time
 Objection Deadline                    August 28, 2020, at 4:00 p.m., prevailing Central Time
 Combined Hearing                      September 3, 2020, at __:__ _.m., prevailing Central Time
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 4 of 33




                                    Jurisdiction and Venue

       3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Court.

       4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.      The bases for the relief requested herein are sections 105, 1125, 1126, and 1128 of

the Bankruptcy Code, Bankruptcy Rules 1007, 2002, 3016, 3017, 3018, 3020 and 9006, and rules

1007-1 and 9013-1 of the Bankruptcy Local Rules for the Southern District of Texas

(the “Bankruptcy Local Rules”).

       6.      On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code.         A detailed description of the facts and

circumstances of these chapter 11 cases is set forth in the Declaration of Chris Kendall, Chief

Executive Officer of Denbury Resources Inc., in Support of Chapter 11 Petitions and First Day

Motions (the “First Day Declaration”), filed contemporaneously with this Motion and incorporated

by reference herein.

                                    Preliminary Statement

       7.      After months of negotiations with their funded debtholders The Debtors

commenced these chapter 11 cases with a restructuring support agreement (the “RSA”) signed by

a majority of their capital structure, including (a) Holders of approximately 67% in aggregate

principal amount outstanding of Second Lien Notes (the “Consenting Second Lien Noteholders”),

(bi) Holders of approximately 73% in aggregate principal amount outstanding of Convertible

Notes (the “Consenting Convertible Noteholders”), and (c) Holders of 100% in aggregate principal

amount outstanding of the RBL Loans (the “Consenting RBL Lenders,” and, together with the
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 5 of 33




Consenting Second Lien Noteholders and the Consenting Convertible Noteholders,

the “Consenting Creditors”), and a prepackaged plan of reorganization which will equitize

approximately $2.1 billion of the Debtors’ prepetition debt.2 The transactions described in and

contemplated by the RSA and Plan will substantially deleverage the Debtors’ balance sheet and

equitize a significant portion of the Debtors’ funded debt obligations. The Plan provides for,

among other things:

                a.       Each Holder of an Allowed Other Secured Claim shall receive, at the option
                         of the applicable Debtor (i) payment in full in Cash, (ii) the collateral
                         securing its Allowed Other Secured Claim, (iii) Reinstatement of its
                         Allowed Other Secured Claim, or (iv) such other treatment that renders its
                         Allowed Other Secured Claim Unimpaired;

                b.       Each Holder of an Allowed Other Priority Claim shall receive, at the option
                         of the applicable Debtor (i) payment in full in Cash or (ii) such other
                         treatment that renders its Allowed Other Priority Claim Unimpaired;

                c.       Each Holder of an Allowed Pipeline Lease Claim shall receive, at the option
                         of the applicable Debtor, (i) payment in full in Cash of its Allowed Pipeline
                         Lease Claim, (ii) the collateral securing the Allowed Pipeline Lease Claim,
                         (iii) Reinstatement of the Allowed Pipeline Lease Claim, or (iv) such other
                         treatment to render such Allowed Pipeline Lease Claim Unimpaired.

                d.       Each Holder of an Allowed RBL Claim or Allowed Hedge Claims shall
                         receive payment in full in Cash or such other treatment rendering its
                         Allowed RBL Claim or Allowed Hedge Claim, as applicable, Unimpaired;

                e.       Each Holder of an Allowed Second Lien Notes Claim shall receive its
                         Pro Rata share of 95% of the New DNR Equity, subject to dilution by the
                         Warrants and the Management Incentive Plan;

                f.       Each Holder of an Allowed Convertible Notes Claim shall receive its
                         Pro Rata share of (i) 5% of the New DNR Equity, subject to dilution by the
                         Warrants and the Management Incentive Plan, and (ii) the Convertible
                         Notes Warrants Package;



2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Joint
    Chapter 11 Plan of Reorganization of Denbury Resources Inc. and Its Debtor Affiliates (as amended,
    supplemented, or modified from time to time, the “Plan”), or the First Day Declaration, as applicable, filed
    contemporaneously herewith.
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 6 of 33




               g.      (i) if Class 7 votes to accept the Plan, each Holder of an Allowed
                       Subordinated Notes Claim shall receive their Pro Rata share of the
                       Subordinated Notes Warrants Package; (ii) if Class 7 votes to reject the
                       Plan, Holders of Subordinated Notes Claims will not receive any
                       distribution on account of such Claims, which will be canceled, released,
                       and extinguished as of the Effective Date;

               h.      Each Holder of an Allowed General Unsecured Claim shall receive
                       (i) payment in full in Cash, (ii) Reinstatement, or (iii) such other treatment
                       rendering its Allowed General Unsecured Claim Unimpaired; and

               i.      (i) if Class 7 and Class 11 both vote to accept the Plan, each Holder of an
                       Existing Equity Interest shall receive its Pro Rata share of the Existing
                       Equity Warrants Package; (ii) if either Class 7 or Class 11 votes to reject
                       the Plan, Holders of Existing Equity Interest will not receive any
                       distribution on account of such Interests, which will be canceled, released,
                       and extinguished.

       8.      In light of the RSA, the Debtors expect that the votes received from Holders of

Class 5 (Second Lien Notes Claims) and Class 6 (Convertible Notes Claims) will be sufficient to

confirm the Plan. The Debtors are optimistic that the other voting classes—Class 7 (Subordinated

Notes Claims) and Class 11 (Existing Equity Interests)—may also vote to accept the Plan given

the opportunity to receive a recovery despite not otherwise being entitled to any distribution under

the Plan based on the Debtors’ valuation set forth in the Disclosure Statement.

       9.      The transactions described in and contemplated by the RSA and Plan set forth a

clear pathway to emergence and will leave the reorganized enterprise with a considerably

diminished debt load and well-positioned to realize the significant value of its CO2 enhanced oil

recovery operations and valuable oil and gas assets.         An instrumental component of this

comprehensive deal is the timeline to emergence. In negotiating the RSA, case milestones were a

prominent material term, with creditors focused on mitigating the significant additional

administrative and financing costs of a lengthy and contested chapter 11 process. Accordingly,

the Debtors request authority to proceed with these chapter 11 cases on the proposed Confirmation

Schedule.
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 7 of 33




       10.     Importantly, no parties in interest are prejudiced by the proposed Confirmation

Schedule. As set forth herein, the Debtors are complying with all notice requirements under the

Bankruptcy Rules and Bankruptcy Local Rules and have implemented a robust noticing program

that ensures all stakeholders (including creditors receiving payment in full in the ordinary course)

are given due process in these chapter 11 cases. The Debtors are providing every known

stakeholder with an expansive notice of the Debtors’ intent to file these chapter 11 cases on

July 30, 2020 and request the Combined Hearing to consider approval of the Disclosure Statement

and confirmation of the Plan be held on September 3, 2020. The Notices (as defined below) also

summarize the material terms of the Plan, including classification and treatment of claims, provide

the full text of the release, exculpation, and injunction provisions in the Plan, and offer multiple

methods which stakeholders could obtain copies of the Plan, Disclosure Statement, and RSA, in

the format of their choosing. Notably, an “opt out box” is included in both the Ballots (as defined

below) and the Notice of Non-Voting Status and Opportunity to Opt-Out, meaning every known

stakeholder, including unimpaired creditors, are being actually served with the means by which

they can opt out of the Third-Party Release.

       11.     The Debtors are in the process of serving the Notices on all bondholders of record,

the full creditor matrix (which includes employees, contract counterparties, mineral and working

interest holders, suppliers, and others), and all equity holders of record, and expect such service to

be complete on July 31, 2020. As such, parties will have 28 days’ notice of the proposed Objection

Deadline of August 28, 2020, and 34 days’ noticed of the proposed Combined Hearing on

September 3, 2020. The Debtors will also publish the Publication Notice in the New York Times

and the Houston Chronicle within five (5) business days following entry of the Order.

Significantly, these procedures comply with all of the required time periods under the Bankruptcy
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 8 of 33




Code and the proposed Confirmation Schedule in this Motion does not alter any parties’ rights

under the Bankruptcy Code. In addition, on July 29, 2020, the Debtors commenced solicitation of

votes from Class 5 (Second Lien Notes Claims), Class 6 (Convertible Notes Claims), and Class 7

(Subordinated Notes Claims), and propose to commence solicitation of Class 11 (Existing Equity

Interests) immediately upon entry of the Order.

       12.     The following is an illustrative timeline of the Debtors’ notice and solicitation

efforts and the proposed Confirmation Schedule:




       13.     Given their robust noticing efforts and the support of their creditors, proceeding on

the proposed Confirmation Schedule, as well as the other relief requested herein, is justified to

preserve consensus and value for the Debtors’ stakeholders.

                            The Notice and Solicitation Procedures

I.     The Notice Procedures.

       14.     Beginning on July 29, 2020, the Debtors mailed, or caused to be delivered, to all

known parties in interest, including all parties listed on the creditor matrix and all noteholders or

equity holders as of record as of July 22, 2020 (the “Voting Record Date”) which total over 53,000
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 9 of 33




creditors or parties in interest and approximately 58,000 distinct equity holders, the Combined

Notice, attached as Exhibit 1 to the Order. The Combined Notice informed or will inform

recipients of (a) the Debtors’ intent to commence these chapter 11 cases on or before July 30, 2020,

(b) the Debtors’ intent to request that the Court schedule a combined hearing to consider approval

of the Disclosure Statement and Confirmation of the Plan on September 3, 2020, subject to the

Court’s availability, (c) the key terms of the Plan, including classification and treatment of claims

and interests, (d) key dates and information regarding approval of the Disclosure Statement and

confirmation of the Plan and the Objection Deadline, (e) the methods by which parties may request

copies of the Plan, Disclosure Statement, and RSA, and (f) the full text of the release, exculpation,

and injunction provisions set forth in the Plan. In addition, the Debtors will also cause the

Publication Notice to be published in the New York Times and the Houston Chronicle, attached as

Exhibit 3 to the Order, within five business days following entry of the Order, as soon as

reasonably practicable thereafter. The Combined Notice is also available at no charge to all

members of the public on the public website maintained by the Debtors’ claims, noticing, and

solicitation agent, Epiq Corporate Restructuring, LLC (the “Solicitation Agent”) at

https://dm.epiq11.com/Denbury.

       15.     Concurrently, the Debtors mailed, or caused to be delivered, to over 50,000 parties

in the Non-Voting Classes on the creditor matrix as of the Voting Record Date, the Notice of

Non-Voting Status and Opportunity to Opt-Out, attached as Exhibit 2 to the Order, which

(a) informed recipients of their status as Holders or potential Holders of Claims in non-voting

classes, (b) provided the full text of the release, exculpation, and injunction provisions set forth in

the Plan, (c) included a form by which Holders could elect to opt out of the Third-Party Release

included in the Plan by checking a prominently featured and clearly labeled box
          Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 10 of 33




(the “Opt-Out Form”), and (d) enclosed a postage prepaid, return-addressed envelope in which

Holders could return their Opt-Out Form to the Solicitation Agent. The Opt-Out Form also

contained information on how the Holder of the Claim in the non-voting class could submit an

opt-out electronically via the customized online portal maintained by the Solicitation Agent

(“E-Ballot”). The encrypted opt-out data and audit trail created by such electronic submission

shall become part of the record of any Opt-Out Form submitted in this manner and the creditor’s

electronic signature will be deemed to be immediately legally valid and effective. E-Ballot is the

sole method of electronic submission of Opt-Out Forms accepted by the Debtors.

          16.      All Notices3 prominently note the various methods by which Holders of Claims or

Interests may obtain, at no cost, copies of the Plan and Disclosure Statement in paper or electronic

form, at their election, thereby ensuring that any Holder that wishes to review the documents may

do so easily, quickly, and in their preferred format.

II.       The Solicitation Procedures.

          17.      The Plan and the Disclosure Statement describe in detail the restructuring

transactions contemplated by the Plan and the RSA and the recoveries provided to Holders of

Claims against and Interests in the Debtors. The following chart summarizes the classes of Claims

or Interests, their status, and voting rights:

    Class           Claims and Interests               Status                        Voting Rights
Class 1         Other Secured Claims               Unimpaired         Not Entitled to Vote (Deemed to Accept)

Class 2         Other Priority Claims              Unimpaired         Not Entitled to Vote (Deemed to Accept)

Class 3         Pipeline Lease Claims              Unimpaired         Not Entitled to Vote (Deemed to Accept)

Class 4         RBL Claims / Hedge Claims          Unimpaired         Not Entitled to Vote (Deemed to Accept)


3     As used herein, “Notices” means, collectively, the Combined Notice attached to the Order as Exhibit 1, the Notice
      of Non-Voting Status and Opportunity to Opt-Out attached to the Order as Exhibit 2, and the Publication Notice
      attached to the Order as Exhibit 3.
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 11 of 33




  Class             Claims and Interests          Status                    Voting Rights
Class 5         Second Lien Notes Claims       Impaired       Entitled to Vote

Class 6         Convertible Notes Claims       Impaired       Entitled to Vote

Class 7         Subordinated Notes Claims      Impaired       Entitled to Vote

Class 8         General Unsecured Claims       Unimpaired     Not Entitled to Vote (Deemed to Accept)
                                               Unimpaired /   Not Entitled to Vote (Deemed to Accept) /
Class 9         Intercompany Claims
                                               Impaired       Not Entitled to Vote (Deemed to Reject)
                                               Unimpaired /   Not Entitled to Vote (Deemed to Accept) /
Class 10        Intercompany Interests
                                               Impaired       Not Entitled to Vote (Deemed to Reject)
Class 11        Existing Equity Interests      Impaired       Entitled to Vote



          18.      Beginning on July 29, 2020 (the “Noteholder Solicitation Launch Date”), the

Solicitation Agent distributed to Holders of Claims in Classes 5, 6, and 7 (each, a “Voting Class”

and, together with Class 11, the “Voting Classes”) entitled to vote to accept or reject the Plan as

of the Voting Record Date, packages including the following materials (the “Solicitation

Package”):

                   (A)     the Combined Notice;

                   (B)     the Disclosure Statement (including all exhibits); and

                   (C)     the appropriate form of ballot (a “Ballot”).

          19.      Additionally, on the Noteholder Solicitation Launch Date, the Solicitation Agent

commenced the distribution of the Combined Notice to all Holders of Interests in Class 11.

Immediately upon entry of the Order, the Solicitation Agent will distribute to Holders of Interests

in Class 11 the remainder of the Solicitation Package (the “Equity Solicitation Launch Date”).

          20.      Holders of Claims or Interests that receive the Solicitation Package are directed to

follow the instructions contained in the Ballot (and described in the Disclosure Statement) to

complete and submit their respective Ballot to cast a vote to accept or reject the Plan. The

Disclosure Statement and the Ballot expressly provide that each such Holder must submit its Ballot
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 12 of 33




so that it (or the Master Ballot cast on such Holder’s behalf) is actually received by the Solicitation

Agent on or before the Voting Deadline to be counted. Holders that are Unimpaired under the

Plan are not being provided a Solicitation Package because such Holders are conclusively

presumed to accept, the Plan under sections 1126(f) and 1126(g) of the Bankruptcy Code,

respectively.

       21.      The Debtors, with the assistance of the Solicitation Agent, will complete a final

tabulation of the Ballots and submit a final voting report following expiration of the proposed

Voting Deadline of August 28, 2020. The Debtors’ procedures and standard assumptions for

tabulating Ballots include the following criteria for tabulating Ballots:

 Votes Not Counted           – any Ballot that is illegible or contains insufficient information to
                               permit the identification of the Holder of the Claim or Interest;
                             – any Ballot that is not actually received by the Solicitation Agent by
                               the Voting Deadline, unless the Debtors determine otherwise or as
                               permitted by the Bankruptcy Court;
                             – any unsigned Ballot;
                             – any Ballot that partially rejects and partially accepts the Plan in a
                               particular Voting Class;
                             – any Ballot not marked to accept or reject the Plan in a particular
                               Voting Class or marked both to accept and reject the Plan in a
                               particular Voting Class;
                             – any Ballot superseded by a later, timely submitted valid Ballot; and
                             – any improperly submitted Ballot.
 No Vote Splitting           – Holders are required to vote all of their Claims or Interests in a
                               particular Voting Class to either accept or reject the Plan and are not
                               permitted to split any votes in a particular Voting Class.
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 13 of 33




 Establishing Claim          – any Ballot must indicate the aggregate Claims or Interests amounts
 Amounts                       for each Voting Class in which the Holder votes Claims or Interests,
                               as applicable.
                             – The aggregate amount of Claims or Interests in each Voting Class
                               on a Ballot that is submitted in accordance with the Solicitation
                               Procedures shall be reconciled against the applicable registry for
                               Claims or Interests by the Holder(s) in each Voting Class.
                             – If any discrepancy exists between the aggregate Claims or Interests
                               amount indicated on Ballot in one or more Voting Classes and the
                               aggregate Claims or Interests amount as listed on the applicable
                               registry for each Holder on such Ballot, the aggregate Claims or
                               Interests amount as listed on the applicable registry shall govern for
                               tabulation purposes.

        22.     The Debtors reserve the right to, in their sole and absolute discretion, make any

exception to any of the foregoing assumptions and criteria.

                                           Basis for Relief

I.      The Confirmation Schedule Complies with Applicable Bankruptcy Law.

        23.     Bankruptcy Rule 3017(a) provides that “the court shall hold a hearing on at least

28 days’ notice to the debtor, creditors, equity security holders and other parties in interest . . . to

consider the disclosure statement and any objections or modifications thereto.” Section 1128(a)

of the Bankruptcy Code provides that “[a]fter notice, the court shall hold a hearing on confirmation

of a plan.”

        24.     Similarly, Bankruptcy Rule 2002(b) provides that notice shall be given to “the

debtor, the trustee, all creditors and indenture trustees [of] not less than 28 days . . . by mail of the

time fixed for filing objections and the hearing to consider approval of a disclosure statement or,

under § 1125(f), to make a final determination whether the plan provides adequate information so

that a separate disclosure statement is not necessary.” Under Bankruptcy Rule 3020(b)(1),

objections to confirmation of a plan must be filed and served “within a time fixed by the court.”
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 14 of 33




       25.     The Court may combine the hearing on the adequacy of the Disclosure Statement

and the hearing to confirm the Plan. See 11 U.S.C. §§ 1125(g) (allowing the prepetition solicitation

of votes through non-bankruptcy law); see also 11 U.S.C. § 105(d)(2)(B)(vi) (authorizing the

Court to combine a hearing on approval of a disclosure statement with the confirmation hearing).

Additionally, Section L of the Procedures for Complex Chapter 11 Cases in the Southern District

of Texas (the “Complex Chapter 11 Procedures”) allows the Court to combine the hearing on the

adequacy of the Disclosure Statement and the hearing to confirm the Plan, so long as

contemporaneously with the filing of a disclosure statement and proposed plan, a plan proponent

files a motion requesting: (a) conditional approval of the disclosure statement; (b) approval of

solicitation procedures; (c) the scheduling of a hearing on shortened notice to consider conditional

approval of the proposed disclosure statement; and (d) the scheduling of a joint hearing to consider

final approval of the adequacy of the disclosure statement and confirmation of the proposed

plan―as this Motion does.

       26.     The Debtors request that the Court schedule the Combined Hearing on

September 3, 2020, or as soon thereafter as the Court’s schedule permits, and schedule the

Objection Deadline thereto at 4:00 p.m., prevailing Central Time, on August 28, 2020. The

Debtors also request that the Court require that objections to the Disclosure Statement or

confirmation of the Plan: (a) be in writing; (b) comply with the Bankruptcy Rules and the

Bankruptcy Local Rules; (c) state the name and address of the objecting party and the amount and

nature of the claim or interest beneficially owned by such entity; (d) state with the legal or factual

basis for such objections, and, if practicable, a proposed modification to the Plan that would resolve

such objections; and (e) be filed with the Court with proof of service thereof so as to be actually

received by the Objection Deadline.
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 15 of 33




        27.    The Debtors submit that it is appropriate to schedule a Combined Hearing to

consider approval of the Disclosure Statement and confirmation of the Plan and have the notice

periods run simultaneously in accordance with section 105(d)(2)(B)(vi) of the Bankruptcy Code,

Bankruptcy Rule 9006(c)(1), and the Complex Chapter 11 Procedures.

        28.    First, the concurrent notice periods in the proposed Confirmation Schedule will

permit the Debtors to satisfy certain milestones under the RSA and DIP Facility. These milestones

were heavily negotiated between the Debtors and the Consenting Creditors and were a key

inducement factor for the creditors’ support and are intended to preserve value for the Debtors’

creditors.    The RSA and DIP Facility milestones require confirmation of the Plan by

September 6, 2020, and emergence within 14 days thereafter. Not meeting these milestones would

be an event of default under the RSA and DIP Facility, which would unravel the consensus built

during months of negotiations, significantly increasing the costs of administering these chapter 11

cases. Further, the proposed Confirmation Schedule is intended to preserve value for the Debtors’

creditors by reducing the administrative costs of a drawn out chapter 11 proceeding. Given the

consensual nature of these chapter 11 cases and the restructuring transaction proposed by the Plan,

the Debtors believe concurrent notice periods to permit the Combined Hearing to take place, as

proposed, on September 3, 2020 is essential to the success of the reorganization.

        29.    Second, the Debtors commenced solicitation on noteholders, including by

electronic notification on certain parties, on July 29, 2020 (36 days prior to the requested date for

the Combined Hearing) and plan to commence solicitation of equity holders on July 31, 2020

(34 days prior to the requested date for the Combined Hearing), in accordance with sections

1125(g) and 1126(b) of the Bankruptcy Code. The Disclosure Statement and other solicitation

materials are being distributed to each Holder of a Claim or Interest entitled to vote on the Plan,
          Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 16 of 33




and      are    readily     available      at   no     cost    on     the    Debtors’      chapter      11    website:

https://dm.epiq11.com/Denbury.

          30.      Third, the proposed Objection Deadline of August 28, 2020 is 28 days following

the expected completion date for service of the Combined Notice, and the proposed Combined

Hearing on September 3, 2020 is 34 days following the expected completion date for service of

the Combined Notice, both of which comply with the time periods required by the Bankruptcy

Code, the Bankruptcy Rules, and the Bankruptcy Local Rules.

          31.      Fourth, the Holders of Claims not entitled to vote will not be denied due process

because Holders were served prepetition with a Notice of Non-Voting Status and Opportunity to

Opt-Out, which includes notice of the applicable deadlines thereto.

          32.      Finally, as described herein, the Debtors have implemented a robust noticing plan

that will provide over 53,000 creditors and approximately 58,000 equity holders with notice of

the Combined Hearing and related deadlines, the material terms of the Plan, the third-party

releases, and the opportunity to opt out of such releases.

          33.      For the foregoing reasons, the Debtors believe the Confirmation Schedule is

reasonable, appropriate, in compliance with the applicable rules, and most importantly, gives due

process to all of their stakeholders.

II.       Conditional Approval of the Disclosure Statement.

          34.      The Debtors also seek limited relief from the requirements of section 1125(b) of

the Bankruptcy Code4 solely for the purposes of permitting the Debtors to solicit acceptances of



4     Section 1125(b) of the Bankruptcy Code provides, in relevant part, “[a]n acceptance or rejection of a plan may
      not be solicited after the commencement of the case under this title from a holder of a claim or interest with
      respect to such claim or interest, unless, at the time of or before such solicitation, there is transmitted to such
      holder the plan or a summary of the plan, and a written disclosure statement approved, after notice and a hearing,
      by the court as containing adequate information.”
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 17 of 33




the Plan from Holders in Class 11 (Existing Equity Interests), with final approval of the Disclosure

Statement to be determined at the Combined Hearing as contemplated by section 105(d)(2)(B)(vi)

of the Bankruptcy Code and in accordance with Section L of the Complex Chapter 11 Procedures.

Section L of the Complex Chapter 11 Procedures, provides that the Court may consider motions

seeking conditional approval of a disclosure statement so long as such motions include a proposed

order which: (a) finally approves the balloting and voting procedures to be utilized; (b) finally

approves the form of notice to be provided to creditors and interest holders of the debtors;

(c) finally approves the form of ballot which will be provided to creditors and interest holders

entitled to vote on the proposed plan; (d) establishes a record date; and (e) establishes a voting

deadline. This Motion and proposed Order comply with these requirements of the Complex

Chapter 11 Procedures and the other requirements of the Bankruptcy Rules.

       35.     For the avoidance of doubt, the Debtors are only seeking limited relief to continue

solicitation postpetition so as to adhere to the milestones set forth in the RSA. Final approval of

the Disclosure Statement will be determined at the Combined Hearing and the Debtors seek

conditional approval of the Disclosure Statement to adhere to the dates set forth in the proposed

Confirmation Schedule and commence solicitation of Class 11 (Existing Equity Interests).

Specifically, the Debtors are not requesting that entry of the proposed Order be a determination as

to the adequacy of the Disclosure Statement. Rather, such approval will be sought at the Combined

Hearing and all parties’ rights to object to the adequacy of the Disclosure Statement (subject to

and in accordance with the deadlines and procedures otherwise set forth in the proposed Order)

are reserved. Courts in this district have recognized that debtors may “straddle” solicitation by

commencing solicitation prior to the petition date and continuing postpetition. See, e.g., Pioneer

Energy Servs. Corp., No. 20-31425 (DRJ) (Bankr. S.D. Tex. Mar. 2, 2020) (conditionally
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 18 of 33




approving the disclosure statement to permit the prepetition solicitation process to continue with

the postpetition commencement of solicitation of equity holders).

       36.     The Debtors request that the Court conditionally approve the Disclosure Statement

and approve the use of the Disclosure Statement during the Debtors’ solicitation of acceptances of

the Plan.

III.   Approval of the Solicitation Procedures.

       37.     The Debtors commenced distribution of the Solicitation Packages to noteholders

and the Combined Notice to Holders of Existing Equity Interests (and the Creditor Matrix) on

July 29, 2020 and intend to distribute the remainder of the materials in the Solicitation Packages

to Holders of Existing Equity Interests immediately upon entry of the Order. The Debtors are

soliciting votes to accept or reject the Plan in accordance with sections 1125 and 1126 of

the Bankruptcy Code. See 11 U.S.C. § 1125(g) (debtors may commence solicitation prior to filing

chapter 11 petitions); see also 11 U.S.C. § 1126(b)(2) (holders of claims or interests that accepted

or rejected a plan before the commencement of a chapter 11 case are deemed to accept or reject

the plan so long as the solicitation provided adequate information). Bankruptcy Rule 3017(d) sets

forth the materials that must be provided to holders of claims and interests for the purpose of

soliciting their votes to accept or reject a plan of reorganization.

       38.     Given that the contents of the Solicitation Package are voluminous, the Debtors

have prepared to distribute, and request that they be authorized to distribute, the Solicitation

Packages to Holders of Class 11 Interests in electronic format (i.e., on a CD-ROM or USB flash

drive), and distribution in this manner will translate into monetary savings for the Debtors’ estates

by reducing printing and postage costs.
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 19 of 33




        39.     The Solicitation Package advises recipients of the procedures for returning the

Ballot in order for a vote to be counted. Each Ballot also contains detailed instructions on how to

complete it and how to make any applicable elections contained therein.

        40.     As set forth herein, the Solicitation Packages comply with the Bankruptcy Code,

the Bankruptcy Rules, and the Bankruptcy Local Rules, and the Debtors seek approval of the

Solicitation Procedures, the Ballots, and the procedures used for tabulations of votes to accept or

reject the Plan. Similar solicitation and tabulation procedures have been approved in other chapter

11 cases in this district and others.

        A.      Voting Record Date.

        41.     Bankruptcy Rule 3018(b) provides that, in a prepetition solicitation, the Holders of

record of the applicable claims against and interests in a debtor entitled to receive ballots and

related solicitation materials are to be determined “on the date specified in the solicitation.”

The Disclosure Statement and Ballot clearly identify July 22, 2020, as the Voting Record Date for

determining which Holders of Claims and Interests were entitled to vote to accept or reject the

Plan.

        B.      Voting Deadline.

        42.     Bankruptcy Rule 3018(b) provides that prepetition acceptances and rejections of a

plan are valid only if the plan was transmitted to substantially all the holders of claims in the same

voting class and the time for voting was not unreasonably short. All Holders of Claims entitled to

vote on the Plan were transmitted the Solicitation Package beginning on or about July 29, 2020.

Additionally, Holders of Interests entitled to vote on the Plan will be transmitted the Solicitation

Package as soon as reasonably practicable after the entry of the Order. As set forth in the

Disclosure Statement and the Ballots, the Debtors request that the Voting Deadline be set for

August 28, 2020. Thus, the Holders of Claims and Interests entitled to vote on the Plan have
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 20 of 33




adequate time to consider the Plan and the Disclosure Statement and submit a Ballot before the

Voting Deadline.

       43.     The transactions proposed in the Plan are the product of hard-fought, arm’s-length

negotiations among the Debtors and the Consenting Creditors. Prior to the Noteholder Solicitation

Launch Date, the Plan and the Disclosure Statement were subject to extensive review and comment

by the Consenting Creditors. Additionally, as described above, the Voting Deadline is consistent

with the applicable notice period requirements under the Bankruptcy Code, Bankruptcy Rules, and

Bankruptcy Local Rules, and meets the milestones in the RSA and DIP Facility. For these reasons,

the Debtors believe that the solicitation period is sufficient and appropriate for Holders of Claims

and Interests entitled to vote on the Plan to make an informed decision to accept or reject the Plan.

       C.      The Ballots.

       44.     Bankruptcy Rule 3017(d) requires the Debtors to transmit a form of ballot, which

substantially conforms to Official Form No. 314, only to “creditors and equity security holders

entitled to vote on the plan.” Bankruptcy Rule 3018(c) provides that “[a]n acceptance or rejection

shall be in writing, identify the plan or plans accepted or rejected, be signed by the creditor or

equity holder or an authorized agent, and conform to the appropriate Official Form.” Only the

Holders of Claims or Interests in the Voting Classes were or will be transmitted Ballots. The form

of Ballot used in solicitation is based on Official Form No. 314 and has been modified, as

applicable, to address the particular circumstances of these chapter 11 cases to include certain

information that the Debtors believe to be relevant and appropriate for holders of Claims or

Interests entitled to vote to accept or reject the Plan. The Ballots used in solicitation are annexed

as Exhibit 4A, Exhibit 4B, Exhibit 5A, Exhibit 5B, and Exhibit 5C to the Order.
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 21 of 33




       D.      Vote Tabulation.

       45.     As described above, the Debtors are using standard tabulation procedures in

tabulating votes. These procedures are consistent with section 1126(c) of the Bankruptcy Code

and Bankruptcy Rule 3018(a) and are similar to those used in cases in this district and others.

       E.      The Debtors’ Prepetition Solicitation was Exempt from Registration and
               Disclosure Requirements Otherwise Applicable Under Nonbankruptcy Law.

       46.     Section 1125(g) of the Bankruptcy Code provides that:

               [A]n acceptance or rejection of the plan may be solicited from a
               holder of a claim or interest if such solicitation complies with
               applicable nonbankruptcy law and if such holder was solicited
               before the commencement of the case in a manner complying with
               applicable nonbankruptcy law.

       47.     Section 1126(b) of the Bankruptcy Code provides that:

               [A] holder of a claim or interest that has accepted or rejected the
               plan before the commencement of the case under this title is deemed
               to have accepted or rejected such plan, as the case may be,
               if―(1) the solicitation of such acceptance or rejection was in
               compliance with any applicable nonbankruptcy law, rule, or
               regulation governing the adequacy of disclosure in connection with
               such solicitation; or (2) if there is not any such law, rule, or
               regulation, such acceptance or rejection was solicited after
               disclosure to such holder of adequate information, as defined in
               section 1125(a) of this title.

       48.     Prepetition solicitations must therefore either comply with generally applicable

federal and state securities laws and regulations (including the registration and disclosure

requirements thereof) or, if such laws and regulations do not apply, the solicited holders must

receive “adequate information” under section 1125 of the Bankruptcy Code.

       49.     The prepetition solicitation is exempt from the registration requirements of the

Securities Act of 1933 (the “Securities Act”), under one or more of the exceptions from registration

provided thereunder, including section 4(a)(2) thereof, state “Blue Sky” laws, or any similar rules,

regulations, or statutes.   Section 4(a)(2) of the Securities Act creates an exemption from
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 22 of 33




nonbankruptcy securities law for transactions not involving a “public offering.” 15 U.S.C. §

77d(a)(2). With respect to the impaired Claims under the Plan, the Holders of Second Lien Notes

Claims, Convertible Notes Claims, and Subordinated Notes Claims will not receive securities

pursuant to a “public offering.” Furthermore, the Debtors understand that all Holders of Claims

entitled to vote on the Plan were accredited investors, as that term is defined in Rule 501 of

Regulation D, and that there was no general solicitation in connection with the sale of securities

under the Plan. As such, the Debtors’ prepetition solicitation does not constitute a public offering

because it falls within the exemption set out in section 4(a)(2) of the Securities Act. The

requirements of section 1126(b)(1) of the Bankruptcy Code are satisfied by the Debtors’

prepetition solicitation process. As discussed below, the Debtors will seek a determination from

the Court at the Combined Hearing that all solicited holders received “adequate information” as

defined by section 1125(a) of the Bankruptcy Code in compliance with section 1126(b)(2) of the

Bankruptcy Code.

       50.     Debtors in prior cases have utilized section 4(a)(2) of the Securities Act to exempt

their prepetition solicitation from the registration and disclosure requirements otherwise applicable

under nonbankruptcy law.

       F.      Postpetition Solicitation of Holders of Existing Equity Interests

       51.     Under applicable securities law, Holders of Existing Equity Interests could not be

solicited prior to the Petition Date. The Debtors therefore request, pursuant to section 1145 of the

Bankruptcy Code, that the Court permit the solicitation of all Holders of Existing Equity Interests

as of the Voting Record Date.

       52.     As described above, the Debtors distributed the Solicitation Package to all Holders

of Claims in Class 5, Class 6, and Class 7 and commenced the distribution of the Combined Notice

to Holders of Existing Equity Interests in Class 11 prior to the Petition Date. The Debtors propose
          Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 23 of 33




to distribute the applicable Ballot and Disclosure Statement to all Holders of Existing Equity

Interests immediately upon entry of the Order. There are 28 days (and 20 business days) between

the date of the proposed Equity Solicitation Launch and the Voting Deadline, such timeframe is

reasonable under the circumstances.

IV.       Approval of the Disclosure Statement at the Combined Hearing.

          53.      The Debtors will request that, at the Combined Hearing, the Court find that

the Disclosure Statement contains “adequate information” as defined in section 1125(a) of

the Bankruptcy Code. See 11 U.S.C. § 1126(b)(2) (because there is no nonbankruptcy law

governing the solicitation of claim and interest holders prior to the Debtors commencing these

chapter 11 cases, such solicitation must have been based on the Debtors providing such holders

“adequate information”).

          54.      The Disclosure Statement contains adequate information because it is extensive and

comprehensive. What constitutes “adequate information” is based on the facts and circumstances

of each case, but the focus is on whether sufficient information is provided to enable parties to

vote in an informed way, and that standard is easily met here.5 Specifically, the Disclosure

Statement contains a number of categories of information that courts consider “adequate

information,” including without limitation:

                                                                                                   Location in
                Category                                    Description
                                                                                              Disclosure Statement


5
      See 11 U.S.C. § 1125(a)(1) (defining adequate information as “information of a kind, and in sufficient detail, as
      far as is reasonably practicable in light of the nature and history of the debtor and the condition of the debtor’s
      books and records”); see also Mabey v. SW Elec. Power Co. (In re Cajun Elec. Power Coop., Inc.), 150 F.3d 503,
      518 (5th Cir. 1998) (stating that courts are vested with wide discretion to determine whether a disclosure statement
      contains “adequate information” within the meaning of section 1125(a) of the Bankruptcy Code); Krystal
      Cadillac-Oldsmobile GMC Truck, Inc. v. Gen. Motors Corp., 337 F.3d 314, 321–22 (3d Cir. 2003) (providing
      that a disclosure statement must contain “adequate information to enable a creditor to make an informed judgment
      about the Plan”) (internal quotations omitted); In re Phoenix Petroleum Co., 278 B.R. 385, 393 (Bankr. E.D. Pa.
      2001) (noting that the determination of whether a disclosure statement contains adequate information must be
      made on a case-by-case basis, focusing on the unique facts and circumstances of each case).
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 24 of 33




                                                                                             Location in
                Category                               Description
                                                                                        Disclosure Statement

 Debtors’ Corporate History,          An overview of the Debtors’ corporate             Article V; Exhibit C
 Structure, and Business Overview     history, business operations, organizational
                                      structure, and capital structure.
 Events Leading to the Chapter 11     An overview of the Debtors’ out-of-court               Article VI
 Filings                              restructuring efforts in response to
                                      deteriorating economic conditions, including
                                      the negotiations with respect to the Plan and
                                      the RSA.
 The Debtors’ RSA and Plan            An overview of the terms of Debtors’ RSA          Article IV; Exhibit A;
                                      and Plan                                                Exhibit B
 Projected Financial Information      A projected consolidated income statement.              Exhibit E
 Valuation Analysis                   A valuation of the post-Confirmation going              Exhibit F
                                      concern value of the Debtors.
 Liquidation Analysis                 An analysis of the liquidation value of the             Exhibit D
                                      Debtors.
 Risk Factors                         Certain risks associated with the Debtors’             Article VII
                                      businesses, as well as certain risks associated
                                      with forward-looking statements and an
                                      overall disclaimer as to the information
                                      provided by and set forth in the Disclosure
                                      Statement.
 Solicitation and Voting Procedures   A description of the procedures for soliciting         Article VIII
                                      votes to accept or reject the Plan and voting
                                      on the Plan.
 Confirmation of the Plan             Confirmation procedures and statutory             Article IX; Exhibit D;
                                      requirements     for   Confirmation     and       Exhibit E; Exhibit F
                                      Consummation of the Plan, including a
                                      liquidation analysis, financial projections,
                                      and a valuation.
 Certain Securities Laws Matters      A description of the applicability of                   Article X
                                      section 1145 of the Bankruptcy Code and the
                                      issuance of New DNR Equity and Warrants
                                      under the Plan.
 Certain United States Federal        A description of certain U.S. federal income           Article XI
 Income Tax Consequences of the       tax law consequences of the Plan.
 Plan
 Recommendation                       A recommendation by the Debtors that                   Article XII
                                      Holders of Claims in the Voting Classes
                                      should vote to accept the Plan.


        55.       The Disclosure Statement and the Plan were subject to extensive review and

comment by the Consenting Creditors. Accordingly, the Disclosure Statement contains adequate
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 25 of 33




information within the meaning of section 1125(a) of the Bankruptcy Code and should be

approved.

V.      Waiver of Certain Solicitation Package Mailings.

        56.      The Debtors request that the Court waive the requirement that they mail, or cause

to be delivered, a copy of the Solicitation Package to holders of Claims presumed to accept

the Plan. See Fed. R. Bankr. P. 3017(d) (requiring transmission of a court-approved disclosure

statement to, inter alia, classes of unimpaired creditors and equity security holders unless the court

orders otherwise). Bankruptcy Rule 3017(d) applies, in relevant part, “[u]pon approval of a

disclosure statement.” Accordingly, Bankruptcy Rule 3017 may be deemed not to apply here

considering the prepetition solicitation process employed. See also 11 U.S.C. § 1126(f)–(g)

(providing that solicitation of parties either presumed to accept or deemed to reject is unnecessary).

The Debtors, however, make this request out of an abundance of caution.                         Distributing

the Solicitation Packages to non-voting creditors is an unnecessary expense. Estate resources

should be preserved for the benefit of all stakeholders and that the Debtors should not be distracted

by having to satisfy this mailing requirement. The Debtors have also made the Solicitation

Package (excluding the Ballot) available at no cost on their chapter 11 website:

https://dm.epiq11.com/Denbury.          The following chart summarizes the notices and materials

provided or to be provided by the Debtors to each class of Claims or Interests:

                     Voting Classes                        Materials Provided / To Be Provided
     Class 5 (Second Lien Notes Claims)             On the Noteholder Solicitation Launch Date, the
     Class 6 (Convertible Notes Claims)              Combined Notice, the Disclosure Statement (and all
     Class 7 Subordinated Notes Claims               exhibits and annexes thereto), and the applicable Ballot
     Class 11 (Existing Equity Interests)           On the Noteholder Solicitation Launch Date, the
                                                     Combined Notice; and
                                                    Immediately upon entry of the Order, the Disclosure
                                                     Statement (and all exhibits and annexes thereto), and the
                                                     applicable Ballot
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 26 of 33



                   Non-Voting Classes                     Materials Provided / To Be Provided
      Class 1 (Other Secured Claims)                On the Noteholder Solicitation Launch Date, Notice of
      Class 2 (Other Priority Claims)                Non-Voting Status and Opportunity to Opt-Out, and the
      Class 3 (Pipeline Lease Claims)                Opt-Out Form
      Class 4 (RBL Claims / Hedge Claims)
      Class 8 (General Unsecured Claims)
      Class 9 (Intercompany Claims)                 None
      Class 10 (Intercompany Interests)

VI.     Approval of the Form and Manner of the Combined Notice.

        57.      The Debtors request approval of the Combined Notice, substantially in the form of

Exhibit 1 attached to the Order. The Debtors are serving the Combined Notice upon the Debtors’

creditor matrix and all Holders of Claims or Interests as of the Voting Record Date. In accordance

with Bankruptcy Rules 2002 and 3017(d), the Combined Notice provides notice that: (a) the

Debtors anticipated filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code

in the United States Bankruptcy Court for the Southern District of Texas, Houston Division, no

later than July 30, 2020; (b) the Debtors are requesting that the Combined Hearing be held on

September 3, 2020, to consider (i) the adequacy of the information contained in the Disclosure

Statement and (ii) confirmation of the Plan; (c) the deadline and procedures for filing objections

to the adequacy of the Disclosure Statement and confirmation of the Plan; (d) the manner in which

the Disclosure Statement, the Plan, and other pleadings filed in these chapter 11 cases can be

obtained or viewed electronically; and (e) a summary of the treatment of each Class under the Plan.

In addition, the Combined Notice noted the possible waiver of the meeting of creditors pursuant

to section 341 of the Bankruptcy Code.

        58.      Bankruptcy Rule 2002(l) permits the Court to “order notice by publication if it finds

that notice by mail is impracticable or that it is desirable to supplement the notice.” The Debtors

will also publish the Publication Notice, substantially in the form of Exhibit 3 attached to the

Order, in the New York Times and the Houston Chronicle within five (5) business days following

entry of the Order, or as soon as reasonably practicable thereafter. The Debtors believe that the
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 27 of 33




Publication Notice provides sufficient notice of the pending approval of the Disclosure Statement,

the Combined Hearing, and the Objection Deadline to entities who would not otherwise receive

notice by mail as provided herein and through the Solicitation Procedures.

        59.      The Debtors are also serving the Notice of Non-Voting Status and Opportunity to

Opt-Out, substantially in the form attached as Exhibit 2 to the Order, upon the Holders of Claims

in Classes that are Unimpaired under the Plan and, therefore, conclusively presumed to have

accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code, as of the Voting Record

Date. As clearly set forth in the included Opt-Out Form, all Opt-Out Forms must be returned no

later than August 28, 2020 (the “Opt-Out Deadline”). Thus, Holders of Claims not entitled to vote

on the Plan have adequate time to consider the Plan and the Disclosure Statement and opt out of

the releases thereunder before the Opt-Out Deadline.

        60.      The Debtors request that they not be required to mail Solicitation Packages, other

solicitation materials, or a Non-Voting Status Notice to the holders of Class 9 Intercompany

Claims or Class 10 Intercompany Interests.6

VII.    Cause Exists to Waive the Requirements that the U.S. Trustee Convene a Meeting of
        Creditors and the Debtors File Schedules and SOFAs.

        61.      The circumstances of these chapter 11 cases merit a conditional waiver of the

requirements that (a) the U.S. Trustee convene a Creditors’ Meeting, and (b) the Debtors file

Schedules and SOFAs. This relief is appropriate if (i) all Claims other than the notes Claims are

Unimpaired under the Plan, and will either be reinstated, paid in full in the ordinary course,

otherwise receive treatment as to render the Holder Unimpaired, and (ii) the only impaired Claim


6   Intercompany Claims and Intercompany Interests shall be reinstated or modified at the option of the Debtors.
    Thus, Holders of Intercompany Claims and Intercompany Interests will not be entitled to vote to accept or reject
    the Plan. Accordingly, and in light of the fact that the Intercompany Claims and Intercompany Interests are all
    held by the Debtors, the Debtors are requesting a waiver from any requirement to serve Holders of Intercompany
    Claims and Intercompany Interests with a Solicitation Package.
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 28 of 33




holders are noteholders whose interests are ably represented by the indenture trustees and, with

respect to the Second Lien Noteholders and Convertible Noteholders, sophisticated counsel

representing a majority of holders in each class who support the Plan.

       62.     Section 341 of the Bankruptcy Code allows a court to waive the requirement of a

meeting of creditors or equity holders if a debtor has filed a plan on the petition date and solicited

acceptances of a plan prior to the commencement of a chapter 11 case. More specifically,

section 341(e) of the Bankruptcy Code provides that:

               Notwithstanding subsections (a) and (b), the court, on the request of
               a party in interest and after notice and a hearing, for cause may order
               that the United States trustee not convene a meeting of creditors or
               equity security holders if the debtor has filed a plan as to which the
               debtor solicited acceptances prior to the commencement of the case.

11 U.S.C. § 341(e).

       63.     The Debtors filed the Plan contemporaneously with this Motion on the Petition

Date, and the Debtors commenced solicitation of votes of certain Voting Classes to accept or reject

the Plan on July 29, 2020, prior to the Petition Date, thereby satisfying the threshold statutory

requirement.

       64.     Cause exists to waive the section 341 meeting as set forth herein because unsecured

creditors holding allowed Claims will be reinstated or paid in full under the Plan and other “first

day” relief sought by the Debtors. Holders of Claims entitled to vote on the Plan will not be

harmed because they were adequately represented by sophisticated counsel during the Plan

negotiation process, or, with respect to the Subordinated Notes, will have their interests adequately

represented by their indenture trustee. Such creditors are not prejudiced by the lack of a Creditors’

Meeting. To the contrary, a section 341 meeting may force the Debtors to delay the Combined

Hearing, thereby causing additional administrative expenses and professional fees to the detriment

of the Debtors’ estates. The RSA requires the Debtors to confirm the Plan within a prescribed
        Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 29 of 33




timeframe, the failure of which could jeopardize the current support for the Plan. For these reasons,

sufficient cause exists to waive the requirement of a section 341 meeting as set forth herein.

        65.    The Debtors also request that the time for filing their Schedules and SOFAs be

extended until September 14, 2020 and be waived in the event the Plan is confirmed on or prior to

that date. The Court has authority to grant an extension “for cause” pursuant to Bankruptcy Rule

1007(c) and Bankruptcy Local Rule 1007-l(b). Here, cause exists to further extend the deadline

because requiring the Debtors to file Schedules and SOFAs would distract the Debtors’

management and advisors from the work of ensuring a smooth transition into these chapter 11

cases and an expedited confirmation of the Plan, which is necessary in light of the milestones

embedded in the RSA. Given the prepackaged nature of these chapter 11 cases, the Schedules and

SOFAs would also be of limited utility to most parties in interest—the Debtors have already

commenced solicitation and obtained commitments under the RSA necessary to confirm the Plan.

The minimal benefit of requiring the Debtors to prepare the Schedules and SOFAs will be

significantly outweighed by the substantial expenditure of time and resources the Debtors will be

required to devote to the preparation and filing of the documents. Furthermore, the Debtors have

already provided substantial diligence to their lenders’ advisors during the Plan negotiation process

and stand ready to respond to additional diligence requests, thereby making the requirement to file

Schedules and SOFAs duplicative. For these reasons, the Court should only contingently require

the Debtors to file SOFAs and Schedules if the Plan is not confirmed on or before September 14,

2020.

        66.    Accordingly, the Debtors request that the Order provide that if the Plan is confirmed

on or before September 14, 2020, the Creditors’ Meeting will be waived and the Debtors will be

excused from filing the SOFAs and Schedules, in each case without further order of the Court.
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 30 of 33




       67.     The Debtors ask that the requested relief be granted without prejudice to

the Debtors’ ability to seek further extension or modification of the requirements for the U.S.

Trustee to convene a Creditors’ Meeting and for the Debtors to file Schedules and SOFAs.

The Debtors also request that the Court authorize the Debtors to further extend the deadline to

convene a Creditors’ Meeting and file Schedules and SOFAs without filing a supplemental motion,

and without further order from the Court, provided that the Debtors obtain the advance consent of

the U.S. Trustee.

                       Waiver of Bankruptcy Rules 6004(a) and 6004(h)

       68.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                    Emergency Consideration

       69.     Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors request emergency

consideration of this Motion pursuant to Bankruptcy Rule 6003, which empowers a court to grant

relief within the first 21 days after the commencement of a chapter 11 case “to the extent that relief

is necessary to avoid immediate and irreparable harm.” As set forth in this Motion, the Debtors

believe an orderly transition into chapter 11 is critical to the viability of their operations and that

any delay in granting the relief requested could cause irreparable harm. Additionally, any delays

in the chapter 11 process could frustrate the ongoing marketing process and the Debtors’ ability to

close a value-maximizing sale. Accordingly, the Debtors submit that they have satisfied the

“immediate and irreparable harm” standard of Bankruptcy Rule 6003 and, therefore, request that

the Court approve the relief requested in this Motion on an emergency basis.
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 31 of 33




                                              Notice
       70.     Notice of the hearing on the relief requested in this Motion will be provided by

the Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as

the Bankruptcy Local Rules, and is sufficient under the circumstances. Without limiting the

foregoing, due notice will be afforded, whether by facsimile, electronic mail, overnight courier or

hand delivery, to parties-in-interest, including: (a) the U.S. Trustee for the Southern District of

Texas; (b) the holders of the 30 largest unsecured claims against the Debtors (on a consolidated

basis); (c) JPMorgan Chase Bank, N.A., as administrative agent under the Debtors’ revolving

credit facility; (d) Vinson & Elkins LLP, as counsel to the administrative agent under the Debtors’

revolving credit facility; (e) Wilmington Trust, N.A., as indenture trustee under the Debtors’

(i) 9.00% second lien secured notes due 2021, (ii) 9.250% second lien secured notes due 2022,

(iii) 7.50% second lien secured notes due 2024, (iv) 7.750% second lien secured notes due 2024,

and (v) 6.375% convertible notes due 2024; (f) Wilmington Trust, N.A., as successor indenture

trustee under the Debtors’ (i) 6.375% subordinated notes due 2021, (ii) 4.625% subordinated notes

due 2023, and (iii) 5.50% subordinated notes due 2022; (g) Paul, Weiss, Rifkind, Wharton &

Garrison LLP, as counsel to the Second Lien Ad Hoc Committee; (h) Akin Gump Strauss Hauer

& Feld LLP, as counsel to the ad hoc group of convertible bondholders; (i) the United States

Attorney’s Office for the Southern District of Texas; (j) the Internal Revenue Service;

(k) the United States Securities and Exchange Commission; (l) the Environmental Protection

Agency and similar state environmental agencies for states in which the Debtors conduct business;

(m) the state attorneys general for states in which the Debtors conduct business; and (n) any party

that has requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief

requested, no other or further notice need be given.
            Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 32 of 33




            WHEREFORE, the Debtors request that the Court enter the Order, substantially in the form

    attached hereto, respectively, granting the relief requested in this Motion and granting such other

    and further relief as is appropriate under the circumstances.



Houston, Texas
July 30, 2020

/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                              KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)         KIRKLAND & ELLIS INTERNATIONAL LLP
Vienna F. Anaya (TX Bar No. 24091225)              Joshua A. Sussberg, P.C. (pro hac vice admission pending)
Victoria Argeroplos (TX Bar No. 24105799)          Christopher Marcus, P.C. (pro hac vice admission pending)
1401 McKinney Street, Suite 1900                   Rebecca Blake Chaikin (pro hac vice admission pending)
Houston, Texas 77010                               601 Lexington Avenue
Telephone:      (713) 752-4200                     New York, New York 10022
Facsimile:      (713) 752-4221                     Telephone:     (212) 446-4800
Email:          mcavenaugh@jw.com                  Facsimile:     (212) 446-4900
               vanaya@jw.com                       Email:         joshua.sussberg@kirkland.com
               vargeroplos@jw.com                                 christopher.marcus@kirkland.com
                                                                  rebecca.chaikin@kirkland.com
Proposed Co-Counsel to the Debtors
and Debtors in Possession                          -and-

                                                  David L. Eaton (pro hac vice admission pending)
                                                  300 North LaSalle Street
                                                  Chicago, Illinois 60654
                                                  Telephone:       (312) 862-2000
                                                  Facsimile:       (312) 862-2200
                                                  Email:           david.eaton@kirkland.com

                                                   Proposed Co-Counsel to the Debtors
                                                   and Debtors in Possession
       Case 20-33801 Document 26 Filed in TXSB on 07/30/20 Page 33 of 33




                                     Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Local Rule 9013-1(i).


                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




                                     Certificate of Service

        I certify that on July 30, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
